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                    IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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UNITED STATES OF AMERICA,
                                                               ORDER
                            Plaintiff,
                                                               08-cr-87-bbc
              v.

COREY THOMAS and
PRINCE BECK,

                            Defendants.

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       The trial in this case which was scheduled to start on February 17, 2009, has to be

continued to March 9, 2009 because of the illness of counsel for one of the defendants. The

final hearing is continued to 3:00 p.m. on Thursday, March 5, 2009. All subpoenas are

continued to March 9, 2009, and until the end of the trial.

       Entered this 11th day of February, 2009.

                                          BY THE COURT:
                                          /s/
                                          BARBARA B. CRABB
                                          District Judge




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